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                                                        March 22, 2023


        Honorable Esther Salas, U.S.D.J.
        United States District Court
        District of New Jersey, Newark Division
        50 Walnut Street
        Newark, New Jersey 07102

                   RE: Torres v. Isaias RE: Failure to provide zoom visitation
                   Docket No.: 2:23-cv-00935

        Your Honor:

                The court entered an order on March 17, 2023, ECF Doc 17 that not only required an
        Answer to the Petition by Respondent either pro se and/or through an attorney by March 21, 2023
        as well as a reply to Petitioner’s letter ECF Doc 15 regarding the lack of virtual communication
        with the minor child. Respondent failed to comply with this Court’s Order and Petitioner has
        already filed a request to enter default ECF Doc 21 submitted today.

               Petitioner has informed the undersigned that he has had virtually no communication with
        the minor child except for text messaging in which the minor child has refused to talk to him and
        Respondent has not assisted in fostering and/or facilitating contact between Petitioner and the
        child. Petitioner respectfully requests that the Court find Respondent in violation of its Order of
        March 14, 2023 and March 17, 2023, ECF Doc 16 and 17.

                Obviously, without an Answer to the Petition by Respondent, Petitioner cannot submit any
        reply by March 24, 2023. With that said, Petitioner intends to apply for default judgment after the
        entry of default.


                               “A Family of Lawyers Practicing Family Law”
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       Thank you for Your Honor’s attention to this matter.

                                                   Respectfully yours,

                                                   /s/ Ari H. Gourvitz

                                                   ARI H. GOURVITZ
 AHG/kh
 Copy to:     Yuri Alexandra Torres Araque (via ECF)
              Andreas Isaias (via email)
